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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

TIMOTHY THOMAS : CIVIL ACTION
Plaintiff :
NO. 16-4285
v.

TRANS UNION, LLC, et al.
Defendants

ORDER
AND NOW, this 12'" day of January 2017, upon notification that the issues between
Plaintiff and Defendants Trans Union, LLC and Equifax Information Services LLC only have
been settled, it is hereby ORDERED that all claims against said Defendants are DISMISSED

with prejudice, pursuant to the agreement of the parties.

BY THE COURT:

/s/ Nitza I. Quinones Alejandro
NITZA I. QUINONES ALEJANDRO, J.
Judge, United States District Court
